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3/2/2023

Edward Gonzalez

2 3 42 East Half Hollow Rd
Dix Hills, NY 11746

Alan S. Trust

U.S Bankruptcy Judge

271-C Cadman Plaza E # 1595
Brooklyn, NY 11201

Re: Case: 22-71280
Application of Ortiz & Ortiz, L.L.P. For Allowance Of Compensation And
Reimbursements Of Expenses As Counsel To The Chapter 11 Debtor.

To Honorable Trust:

| am writing this letter today to inform you that Ortiz & Ortiz L.L.P. should not be
compensated or reimbursed for what they are asking, for numerous reasons as detailed
below.

First and foremost, she did not assist me in getting a loan AT ALL. When my mother
(Olga Gonzalez) was approved for one on my own accord, Ms. Ortiz had a negative
character with me about it— even though | told her numerous times that my siblings and
| had a commitment letter with another lender.

Whenever we had a conversation about the case, Ms. Ortiz never greeted me as a
professional, ever. However, she was always very quick to tell me that “there is no loan
and that’s it!” | had to keep stopping her in her tracks and repeatedly remind her that
there is one in plain black and white ink, which she had a copy of. After always having a
back and forth, Ms. Ortiz would correct herself and apologize and say there is one, “you
are right,” but in a disdainful manner. She never wanted to accept that | had a loan from
another lender that wasn’t her recommendation. | then started to feel very nervous and
assumed that she was really not trying to assist me in any way, professional or ethical.

After Ms. Ortiz finally came to admit and accept that | had a loan and commitment letter,
she would then begin to say that the loan is not enough to cover the Judgement. | would
then assure her that we will get the rest elsewhere to help satisfy it. But then, out of
nowhere, she would add more money owed to the initial figure. She could not give me
an exact number of what was owed to satisfy the Judgement. The number kept
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increasing. Ms. Ortiz would then begin to negatively bring up bogus reasons as to why |
owed more money and why my loan was never enough. At one point during a
conversation around November, | had told that | did not need her services any longer
because, | did not feel confident and she said “ok then get yourself a new lawyer”
although, still conversating, Ms.Ortiz began changing her attitude and | still stuck with
her which was not a good idea.

When Ms. Ortiz and | had those conversations, about where | was going to get the rest
of the funds to satisfy the judgment— again, she was being harsh and negative about
helping me in paying the creditor. Ms. Ortiz went on in saying that the debt, after
applying the funds from the loan, and the taxes, water, and closing fees were about
$450,000. Again, more intimidation on her part. | had to step up and tell her that she
was wrong, that it was more like $245,000—and she kept going against it, until | again
had to be strong and tell her to clarify what she was talking about. The figures were not
difficult to add, that the numbers do not lie. Her excuse was that she is terrible at math,
and again that she was sorry.

The one reason that truly rubbed me the wrong way, according to Ms. Ortiz—-as to why
my loan was never enough to satisfy the Judgment—was when she brought up a
separate claim that | have with a family member (my uncle), over an estate. In essence,
this claim had nothing to do with the case at hand or why | am filing for Chapter 11. |
filed for Chapter 11 to help save our property located in Queens. Completely separate
issues and cases. According to the claim, | owe my uncle $400,000, but | kept stressing
to her that it is not me who owes it, that it is the estate. She kept intimidating me with
that reason, and so because she is an attorney, | believed her. | then asked her to
please clarify that the claim with my uncle is not the real reason why | had to file for
Chapter 11— which was to stop the sale of our home in Queens (the whole reason why |
filed for Chapter 11 in the first place). | asked her to reassure me that he (my uncle) and
that particular claim should not be the problem, correct? | had to put her on the spot
multiple times, and she finally agreed with me. Also, in those same conversations, Ms.
Ortiz said to me that she was afraid that | would end up on the streets, practically
homeless, in fear of me losing my home—another form of threat and intimidation.

Now, when Ms. Ortiz again started to bring up the excuse about my uncle's supposed
$400,000 claim and that she can not only worry about this Pe-nc judgment, that she has
to make sure that all my creditors get paid as well. She was trying to use another scare
tactic that failed. | again reminded her that all of that is irrelevant in order to satisfy the
true judgment of Pe-Ne, in order to keep my home. | confessed that day that she really
wasn't trying to help me, that even a blind person could see it, and so | just had to tell
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after | had already released her. | could not believe that she was still intent on trying to

get you to sign an order for the auctioneer, where again, | was manipulated into signing
that process. Ms. Ortiz specifically said to me that you wanted it done, and asked if my
siblings were on board, if not, you, the Judge, were going to sign it anyway without our
approval.

When she saw that the auctioneer had gone to our home and took pictures and spoke
to him, she was very fast in sending an email to me that had nothing to do with the

case, saying: that she knows someone whe is a good friend and a real estate broker in
the Jackson heights area—where my home is located— and that her contact just sold a
house in that area that used to be Ms. Ortiz's mother’s home, and that they did not get
that much— it took about a year to sell, that “my” home should not be valued at
$1,600,000, which is what the bank Carlyle Capital came up with (that appraisal). She
stressed that it should be valued at $1,000,000 to $1,200,000.

Until this day | am confused about that email, which is irrelevant to my case. | asked her
what the point of that email was, and Ms. Ortiz answered that she just wanted to “put it
out there.” Again, to me, she was not working for me with her best interest. At this point
your Honor, | was really afraid, nervous, and stressed out of the whole situation.

On our hearing on 1/25/2023, Ms. Ortiz thought | was not going to be present, and |
knew that since the auctioneer was already involved, she was still going to try and press
for your signature on the order. That right there shows and tells me that she was not
working for my best interest. That is when | had to step and defend myself and meet
you for the first time to clarify things. Your Honor, if | can recall, in that same hearing
(1/25/2023), you had mentioned to me that the court in no way will ever force anyone to
sell or put a home up for auction. When you mentioned that, | can’t tell you how much
better | felt, and what a huge sense of relief. Truly, Thank you.

Your Honor, you even witnessed it. The last court appearance on 2/22/2023 again, Ms.
Ortiz assumed that | was not going to show up in court, and lied, that she sent my
siblings and | the final fee. She did not. Because like I had stemly expressed, she never
sent me and neither of my siblings anything. Ironically though, she did send it the next
day. Right after our hearing.

| do want you to know that | have proof of all these conversations, and will send you
copies of her emails.

In conclusion, with respect to the MORS, Ms. Ortiz had requested several video
conferences in regards to them, and | noticed that the paralegal did not know where to
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her the truth about her services— not what I was expecting, and | was truly unsatisfied
with her performance. | told her that | needed new counsel, and that | was releasing her
(this was on 1/13/2023). She then sent me another email on 1/19/2023 stating that |
was right again, and that my uncle’s claim has no effect on my case. At this point | was
fed up with her, and couldn't believe she was emailing to let me know | was right? And
she was wrong?

Your Honor, does that seem professional to you? But that is not all, there is more...

When it was time for any court hearings, | asked her if | may be present. Again, Ms.
Ortiz would intimidate me and say that it is better for me not to attend because they,
meaning the court, can ask me questions, and that she would not be able to assist me
because you, the Judge, was not happy about my case—and even more, that you were
strict.

Now, because of her threats and intimidations, | wanted to more than ever be present at
court. | requested that—consistently, to please let me be present. In one instance she
told me, “ok,” and gave me a time and date. | took a day off from work, and then there
happened to be no court that day. | thought we missed it, because she did not give me
any feedback until way later in the day. | had to call the office and ask, what happened?

There was another time (a hearing), where not only | wanted to be present, but my
sister and the mortgage broker (who was helping us with the loan) as well—who both
took the time off to attend. She never gave me any info to log into the hearing.

Didn’t answer any phone calls. | called her office repeatedly, and told her repeatedly |
wanted to be present. Ms. Ortiz went through the whole hearing without us, while she
promised that we may be present. Ms. Ortiz said that it was better that we had not
appeared because there was no approved loan and that you, the Judge, had mixed my
case with another and so it was adjourned, and that it was good because it gave us
more time to get aloan (even though we already had a commitment letter). She
stressed that we had to be quick because there would be no more time next time and if
not, | would be forced to sell the property. She had no shame in it.

My sister was upset and even called her office to complain, even though | told my
sibling not to, out of respect. Ms. Ortiz had even referred to my siblings and | as
immature. Again, what attorney would ever speak to their client in this manner? All this
just shows and tells you what unprofessionalism Ortiz & Ortiz LLP are as attorneys.

These were mainly the reasons, and that’s why | was not present until just recently—
that | had to appear as pro-se on January 25, 2023, where Ms. Ortiz was still present
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figures or information. She had to explain it to him, and around the fifth or sixth month of
our work together, they noticed that something was wrong with a majority of them, and
they had to amend them. | know the MORs were finalized, however, for the most part |
believe much could have been avoided if Ms.Ortiz would have helped me like she said.
To me it was just time and my money spent. | am back to where | started and all the
interest and penalties have accrued on the Judgment. It is not fair that she charges me
all of this; plain and simple, she should not be compensated. | sometimes think that it
was better for me to do this on my own, and | said that to her on the day | released her.

| have been dealing with lawyers for a very long time, and | am not afraid to stand up for
myself or ask questions or pry. It is unfortunate that when lawyers see you have
properties, money, and income— they try to take advantage of you, especially when
they know you might not know the law or have a license. But | do know the law, and |
research and read a lot. That is why, after all this, and multiple malpractices (Ms. Ortiz is
not the only one, but the first who | have decided to rebuttle) that | aspire to study law
and become a lawyer. To know how to protect myself, for myself. As well as help others
who deal with these similar issues. | have some background on this because |
graduated from St. John’s University in Business regulations, and my goal is to one day
attend St. John’s Law School.

But aside from that, in conclusion, | truly feel that Ortiz & Ortiz L.L.P. should not be
compensated on any of the fees she is requesting after our retainer agreed amount of
$10,000. If anything, | should be reimbursed. She needs to be reported to the Bars
Association, and be suspended and penalized. | hope that Ms. Ortiz does not repeat her
actions with others, who might be more intimidated or less knowledgeable. Above all
your Honor, | truly thank you for your time and hearing me out, as well as giving me a
chance to set this entire case straight. Thank you, Justice Trust.

Sincerely,
Edward Gonzalez

 

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| NOTARY PUBLIC, STATE OF NEW YORK|

| Registration No. 01GI6187694
Qualified in Suffglk County. :
| Commission Expires 05/27/1202: |
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